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                     UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
   __________________________________________________________________
   IN RE: AUTOMOTIVE PARTS                                  No. 12-md-02311
   ANTITRUST LITIGATION                                     Hon. Sean F. Cox
   __________________________________________________________________

   IN RE : WIRE HARNESS                            CASE NO. 2:12-CV-00103
   IN RE : INSTRUMENT PANEL CLUSTERS               CASE NO. 2:12-CV-00203
   IN RE : FUEL SENDERS                            CASE NO. 2:12-CV-00303
   IN RE : HEATER CONTROL PANELS                   CASE NO. 2:12-CV-00403
   IN RE : BEARINGS                                CASE NO. 2:12-CV-00503
   IN RE : OCCUPANT SAFETY SYSTEMS                 CASE NO. 2:12-CV-00603
   IN RE : ALTERNATORS                             CASE NO. 2:13-CV-00703
   IN RE : ANTI-VIBRATIONAL RUBBER PARTS           CASE NO. 2:13-CV-00803
   IN RE : WINDSHIELD WIPERS                       CASE NO. 2:13-CV-00903
   IN RE : RADIATORS                               CASE NO. 2:13-CV-01003
   IN RE : STARTERS                                CASE NO. 2:13-CV-01103
   IN RE : AUTOMOTIVE LAMPS                        CASE NO. 2:13-CV-01203
   IN RE : SWITCHES                                CASE NO. 2:13-CV-01303
   IN RE : IGNITION COILS                          CASE NO. 2:13-CV-01403
   IN RE : MOTOR GENERATOR                         CASE NO. 2:13-CV-01503
   IN RE : STEERING ANGLE SENSORS                  CASE NO. 2:13-CV-01603
   IN RE : HID BALLASTS                            CASE NO. 2:13-CV-01703
   IN RE : INVERTERS                               CASE NO. 2:13-CV-01803
   IN RE : ELECTRONIC POWERED                      CASE NO. 2:13-CV-01903
   STEERING ASSEMBLIES
   IN RE : AIR FLOW METERS                         CASE NO. 2:13-CV-02003
   IN RE : FAN MOTORS                              CASE NO. 2:13-CV-02103
   IN RE : FUEL INJECTION SYSTEMS                  CASE NO. 2:13-CV-02203
   IN RE : POWER WINDOW MOTORS                     CASE NO. 2:13-CV-02303
   IN RE : AUTOMATIC TRANSMISSION                  CASE NO. 2:13-CV-02403
   FLUID WARMERS


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   IN RE : VALVE TIMING CONTROL DEVICES CASE NO. 2:13-CV-02503
   IN RE : ELECTRONIC THROTTLE BODIES         CASE NO. 2:13-CV-02603
   IN RE : AIR CONDITIONING SYSTEM            CASE NO. 2:13-CV-02703
   IN RE : WINDSHIELD WASHER                  CASE NO. 2:13-CV-02803
   IN RE : AUTOMOTIVE CONSTANT                CASE NO. 2:14-CV-02903
   VELOCITY JOINT BOOT PRODUCTS
   IN RE : SPARK PLUGS                        CASE NO. 2:15-CV-03003
   IN RE : AUTOMOTIVE HOSES                   CASE NO. 2:15-CV-03203
   IN RE : SHOCK ABSORBERS                    CASE NO. 2:15-CV-03303
   IN RE : BODY SEALING PRODUCTS              CASE NO. 2:16-CV-03403
   IN RE : INTERIOR TRIM PRODUCTS             CASE NO. 2:16-CV-03503
   IN RE : BRAKE HOSES                        CASE NO. 2:16-CV-03603
   IN RE : EXHAUST SYSTEMS                    CASE NO. 2:16-CV-03703
   IN RE : CERAMIC SUBSTRATES                 CASE NO. 2:16-CV-03803
   IN RE : POWER WINDOW SWITCHES              CASE NO. 2:16-CV-03903
   IN RE : AUTOMOTIVE STEEL TUBE              CASE NO. 2:16-CV-04003
   IN RE : ACCESS MECHANISMS ACTIONS          CASE NO. 2:16-CV-04103
   IN RE : DOOR LATCHES                       CASE NO. 2:17-CV-04303
   __________________________________________________________________
      THIS DOCUMENT RELATES TO:
      End-Payor Actions
   __________________________________________________________________

     REPLY MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
    END-PAYOR SETTLEMENTS AND STRIKE CONTRADICTORY AND
                   IMPROPER STIPULATION




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                                       INTRODUCTION
            More than two years ago, End-Payor Plaintiffs’ class counsel (“EPPs”)

   confirmed Enterprise Fleet Management’s (“EFM”) understanding that it was an End-

   Payor Settlement Class member having “purchased or leased a new Vehicle in the

   United States not for resale, which included one or more of [the applicable component

   parts].” Three days after receiving the following explicit response from EPPs, EFM

   filed a claim to the End-Payor Settlements:

            As discussed on our call, we will address many of the issues related to fleet
            management companies on a case-by-case basis. However, assuming for
            purposes of this response that the fleet management company at
            issue [1] purchased new vehicles and [2] retained title to those new
            vehicles while leasing them to customers under long term leases ,
            those fleet management companies would be included in the class.
            PageID.39770 (emphasis added).1

       EPPs’ 2019 response makes clear that they knew FMCs engaged in long-term leases

   and that fact did not exclude them from the Class. Now, over two years since EFM

   filed a timely claim, EPPs seek to mischaracterize EFM as a “reseller” and try to insert

   terms like “end user” into the class definition—despite the fact that (1) the settlements

   themselves expressly limit outside evidence, and (2) Michigan law prohibits courts from

   considering extrinsic evidence where settlement language is clear and unambiguous.

            Further, EPPs’ efforts to invoke “intent” in an attempt to exclude EFM from



   1
    As a Settlement Class member, EFM is a party to these proceedings and under no obligation to
   seek leave to intervene; EPPs’ 2019 written confirmation of FMC inclusion in the End-Payor class
   should, alone, moot any question of intervention here.

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   the End-Payor class is misplaced. Over the course of four rounds of settlements, the

   parties’ “intent” is memorialized in all but one of the settlement agreements as follows:

         This Agreement shall be construed and interpreted to effectuate the
         intent of the parties, which is to provide, through this Agreement,
         for a complete resolution of the relevant claims with respect to each
         Releasee as provided in this Agreement.

   See, e.g., Meritor Settlement Agreement, 16-cv-03703 PageID.3841 (emphasis added).

   Defendants clearly intended for a broad release that encompassed all indirect

   purchasers, and had they wanted to exclude vehicles purchased for lease, they could

   and would have done so. Given the clear and unambiguous terms before this Court,

   EPPs cannot now change those agreed-upon, Court-approved terms post-factum.

         Finally, EPPs also seek to prevent EFM from challenging the FMC Stipulation,

   suggesting that it somehow does not apply to other FMCs, despite clear and express

   language that the stipulation will apply to “any FMC or customer of an FMC” that filed

   a claim, EFM included. PageID.39702 (emphasis added).

                                       ARGUMENT

   I.    FMCs are without question members of the End-Payor Settlement Class.
         FMCs, including EFM, are unequivocally class members under the End-Payor

   settlement agreements’ plain language, which defines class members as:

         All persons and entities that . . . [1] purchased or leased a new Vehicle in
         the United States [2] not for resale, which included one or more [of the
         applicable component parts].

   PageID.12034-12036. EFM’s claimed vehicle purchases fall within the class definition’s


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   exact language—which EPPs confirmed, writing that FMCs “would be included in the

   class” where they “[1] purchased new vehicles and [2] retained title to those new vehicles

   while leasing them to customers under long term leases.” PageID.39770.

          There is no dispute that EFM purchased its vehicles new and held title to its

   vehicles for the full duration of leases to its customers. There should be no question

   that EFM’s vehicle purchases were not for purposes of resale. Further, as the settlement

   terms are clear and unambiguous, both the settlements’ language and Michigan law

   prohibit courts from considering extrinsic evidence of intent. See In re Autoparts Antitrust

   Litig., 997 F.3d 677, 685 (6th Cir. 2021) (“Rubber Parts”).

          A.     Leases are not sales and the settlements very clearly do not
                 exclude lessors from the End-Payor class
          EFM purchases vehicles for the sole purpose of leasing them to its customers

   under long-term leases. As the other FMCs detailed at length in their motion, a lease is

   not a sale as a matter of law. PageID.39510-39516. At no time during the pendency of

   its leases is EFM engaged in efforts to sell its vehicles. By contrast, when dealers

   purchase vehicles, those vehicles are immediately put in inventory and held out to the

   public for resale as quickly as possible.

          That EFM sells its vehicles at the expiration of its leases—leases that, on average,

   last more than 3 years—is ancillary; EFM’s vehicle purchases would not happen but for

   the anticipated lease in the interim. Decl. of Emma K. Burton attached as Exhibit A

   (“Burton Decl.”) ¶ 7. If, as EPPs now contend, EFM’s subsequent sale of a vehicle after


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   owning it for several years somehow converts its original purchase into one for the

   purpose of “resale,” individuals who purchase a vehicle and subsequently sell it after a

   period of years, perhaps to Carvana or via Craigslist, would also be excluded from the

   class. The fallacy of EPPs’ position here is clear, and clearly untenable.

         B.     Clear, unambiguous terms of the settlements prohibit EPPs’
                reliance on extrinsic evidence of intent.
         EPPs understood, as early as their 2019 response, that (1) FMCs purchase

   vehicles for purposes of leasing them out under long-term leases, and (2) that FMCs

   would file claims to the End-Payor settlements as class members. Now, EPPs seek to

   rewrite history, contending that “entities who purchase vehicles for the purpose of

   immediately re-leasing them were never intended to be included in the settlement class”

   despite the clear and unambiguous settlement language to the contrary. PageID.39866.

         Not only is the class definition clear, but every End-Payor settlement contains

   an integration clause, prohibiting outside evidence of intent where terms are clear and

   providing that the settlement:

         [C]onstitutes the entire, complete and integrated agreement among End-
         Payor Plaintiffs and [Defendant] . . . and supersedes all prior and
         contemporaneous undertakings, communications, representations,
         understandings, negotiations, and discussions, either oral or written,
         between End-Payor Plaintiffs and [Defendant]. E.g., 16-cv-03703
         PageID.3842.

         Even without an integration clause, Michigan law is clear that where the

   settlement—a contract—contains language that is “clear and unambiguous,” courts

   must look only to the “four corners of the relevant contracts” and “[t] he words used in

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   the contract are the best evidence [of] the parties’ intent.” Rubber Parts, 997 F.3d at 685;

   Kyocera Corp. v. Hemlock Semiconductor, LLC, 313 Mich. App. 437, 446 (2015). There is no

   language in the settlement agreements, plans of allocation, or class notice excluding

   lessors and EPPs cannot now suggest that the Court look beyond the clear settlement

   language to exclude valid members of the End-Payor class.

          C.     Contrary to EPPs’ suggestion, FMCs are not part of the Dealer
                 class and not eligible to recover from the Dealer settlements.
          Unable to exclude FMCs from the End-Payor settlements under the clear

   language, EPPs next try to contend that FMCs are instead Dealer class members and

   “could recover for claims in the Auto Dealer cases.” PageID.39869, 39880. However,

   FMCs are very clearly not part of the Dealer class.

          The Dealer settlements define Dealers as “an entity or person authorized to engage

   in the business of selling and/or leasing Vehicles at retail in the United States,” meaning

   “authorized” by the OEM vehicle manufacturers. 13-cv-02702 PageID.4494 (emphasis

   added). FMCs such as EFM are not in the business of, nor are they authorized by OEMs

   to, sell or lease new vehicles at retail, and they do not have the Dealership State

   License/Registration Numbers or OEM Dealer IDs required for valid Dealer claimants.

   Burton Decl. ¶ 4. Consequently, the Dealer class claims administrator confirmed that

   entities that lease vehicles as part of a fleet management business are not Dealer class

   members and not eligible to recover from the Dealer settlements. Ex. 2 to Burton Decl.

   EPPs’ misleading assertions aside, EFM did not—and could not—recover for its


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   claimed vehicles in the Dealer settlements. EFM, and all FMCs, squarely belong to the

   End-Payor class.

          D.      FMCs’ position in the distribution chain is irrelevant to their
                  inclusion in the end-payor settlement class, but even so, FMCs still
                  have standing as end-payors.
          In an effort to defend their Stipulation and its end run around recovery in Illinois

   Brick non-repealer states, EPPs concede the very point they spend the majority of their

   Response arguing—that a class member’s place in the distribution chain is irrelevant if

   they meet the definition of the settlement class itself:

          Whether Plaintiffs can maintain their direct-purchaser lawsuit under the
          ownership-or-control exception of Illinois Brick is a question of antitrust
          standing. It is not a question that bears on our interpretation of the
          settlement agreements.
   Rubber Parts, 997 F.3d 677 at 683 (emphasis added). EFM, as an indirect purchaser of

   new vehicles not for resale, meets the clear settlement class definition, and the analysis

   necessarily stops there.2 The analysis also renders moot EPPs’ contention that FMCs

   must be excluded from the class because of duplicate valid claims to the same vehicle,

   yet that result is precisely the predicable consequence of including both purchasers and

   lessees in the class definition proposed by the parties and approved by the Court.


   2
    Even supposing EFM’s position in the distribution chain was relevant, which it is not, EFM is still
   an end payor. EPPs would have the Court redefine “not for resale” as excluding all but the “ultimate
   end user” and thereby excluding EFM as not an end payor. But the lone case cited by EPPs for this
   proposition does not stand for it. In referencing the “ultimate end user, or the retail level
   consumer,” the court recognized the “overall goal of the [Magnuson Moss Warranty] Act” and not
   the definition of “not for resale.” See Request Foods, Inc. v. Am. Roland Food Corp., No. 1-11-CV-128,
   2012 WL 13018611, at *2 (W.D. Mich. Sept. 12, 2012). In fact, the party in that case conceded that
   the product would be resold, so the definition of “resale” was not even at issue. Id.

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   II.    The Stipulation clearly applies to all FMCs and negotiates away the
          rights of all valid claimants.
          The Stipulation could not be clearer in its application to all FMCs. In the

   Stipulation’s first paragraph, the specific term “FMC Claimants” is used to reference

   the four named FMCs who negotiated the Stipulation. Two paragraphs later, the

   Stipulation defines “FMCs” as fleet management companies generally. When EPPs

   state in Stipulation Paragraph J that they “intend to apply the guidelines and procedures

   set forth below to all claims that have been submitted by or on behalf of any FMC or

   customer of an FMC” (emphasis added), they clearly plan to apply the Stipulation’s

   terms to all FMCs, not just the four “FMC Claimants.” EFM has every right to

   challenge, as its recovery in this settlement is directly impacted by the Stipulation.

          Moreover, for the reasons articulated in EFM’s Memorandum, the Stipulation

   impacts not just all FMCs but all valid claimants—privately negotiating away portions

   of the settlement fund without providing notice and in violation of the Plans of

   Allocation. The Stipulation, to use EPPs’ own language, raises “fundamental questions

   about fairness of notice to end-payor purchasers.” PageID.39864.

    May 9, 2022                                     Respectfully submitted,


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                             CERTIFICATE OF SERVICE

         I hereby certify that on May 9, 2022, a copy of the foregoing was filed

   electronically using the Court’s ECF system, which will send notification to each

   attorney of record by electronic means. Parties may access this filing through the

   Court’s system.


    Dated: May 9, 2022                            By: /s/ Lawrence J. Lines III
                                                  Lawrence J. Lines III




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